 Case 2:06-cr-00089-WDK-TEM Document 9 Filed 05/30/06 Page 1 of 2 PageID# 3




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division



UNITED STATES OF AMERICA


v.                                                    ACTION NO. 2:06mj122


GUSTAVO OCASIO LOPEZ,
         Defendant.



                                             ORDER



        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been

held. The Court concludes that the following facts require the detention of the defendant pending trial

in this case.

        The Court FINDS that the credible testimony and information submitted at the hearing

establishes by clear and convincing evidence that the defendant is a risk of flight but not a danger to

the community. The defendant has lived on the Eastern Shore of Virginia for 5 or 6 years. He is a

citizen of Guatemala. It was reported at the hearing that the law enforcement officers now believe

that his true name is Rodin Ararildo Garcia. However, the defendant has used several alias names.

        The defendant claims employment as a mechanic. He also stated that he worked as a guard

in the brothel described in the criminal complaint. He has no criminal record and no health issues.

He has no significant assets.
Case 2:06-cr-00089-WDK-TEM Document 9 Filed 05/30/06 Page 2 of 2 PageID# 4




       The defendant has a deportation detainer lodged against him and is subject to deportation.

Because of the false names, and the detainer the court finds there is a serious risk that the defendant

will not appear.

       The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of a

court of the United States or on request of an attorney for the Government, the person in charge of

the corrections facility shall deliver the defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

       The Clerk shall mail or deliver a copy of this Order to the United States Attorney at Norfolk,

to the United States Marshal at Norfolk, to the United States Pretrial Services Office at Norfolk, and

to counsel of record for the defendant.




                                             __________________/s/___________________
                                                           Tommy E. Miller
                                               UNITED STATES MAGISTRATE JUDGE

Norfolk, Virginia

May 26, 2006




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